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EXHIBIT C

 
QTR Case 5:20-cv-00612-NC Yahdo Guim Bn dur Amazing Gaicbh/ai7/2AalP age 2 of 15

Fw: Your Amazing Vanicorn!! - rental!?

 

Sweet Cicely Daniher
Cyclops Tattoo

913 Valencia St. # 2

San Francisco, CA. 94110

 

 

 

 

FORE TAI
To: Jane Clausen ‘ymuuneskan com>
Sent: Thursday, September 6, 2018, 5:31:16 PM PDT
Subject: Re: Your Amazing Vanicornl! - rentall?

Jane- That all sounds just fine. | can do the adjusted drop off/ pick up times. | work sat, so | will be able to be grab it at noon, or later- like 4 or 5.
Thanks!
Cicely

Sent from my iPhone

On Sep 6, 2018, at 4:55 PM, Jane Clausen 4 @pixarcom> wrote:

  

Thank you for sending ail of the pictures, they are definitely super helpful.

We'd love to be able to leave the side doors open and have a mannequin inside and some random posters lightly tacked up, as long as that sounds
ok to you.

1/6
Case 5:20-cv-00612-NC Yahdo tai en aur Amaze Gatich/ai7/e2HaiP age 3 of 15

i will likely be the one to meet you when you get here. | will forward arrival instructions.

Thinking about timing— would you be willing to shift to drop off on Thursday morning and then pick-up later on Saturday? The event is going later
than | thought and want to have adequate time to remove props and stuff on Saturday before pick-up.

We should have a contract for you soon. Our team is working on it!

Thank youl
Jane

On Wed, Sep 5, 2018 at 2:19 PM sweet cicely daniher QQQQQGRRRaeg

Jane-

Ox perfect- you can let me know whom i should contact on that day when | arrive. There's just a couple details I'd like to share with someone if
person ideally- door specifics mainly.

image’ joeg

magedz.ipeg

mage3.jpeg

mage4.jpeg

images jpeg

 

   

Ax

Sent from my iPhone

On Sep 5, 2018, at 12:40 PM, Jane Clausen &

 

Keppiarcom> wrote:

Thank youl Noon and Noon is good!

And actually, don't worry about wash/detail. We don't mind it a bit grungy, that's actually a welcome feature for what we're going for.
Treat yourself io that afterwards! :-)

  

On Wed, Sep 5, 2018 at 12:35 PM sweet cicely daniher
Jane-

 

| can make a noon pickup work for sure on Saturday, I'm flexible Wednesday, but we could just say
noon, unless earlier is better for you.
The license plate is VNICRN.

 

2/6
 

 

Case 5:20-cv-00612-NC Yabo tui MB aur Amazile bob aAi7/e2AalPage 4 of 15

Im sending photos today, but I'll wash and detail the van before | drop it off.
Thanks,
Cicely

Sweet Cicely Daniher
Cyclops Tattoo

513 Valencia St. # 2

San Francisco, CA. 94110

 

 

 

www.cyclopstatiog.com

 

 

 

On Wednesday, September 5, 2018 11:58 AM, Jane Clausen 3@peeee pixarcom> wrote:

So excellent! Thank you. Can you give me the license plate or Vin #? And your address and phone for
the contract?

Timing for drop-off and pick-up is flexible on our end as were here all day. Saturday, we’d just want
enough time to remove all that we added.... So maybe noon ? But we can also nail down timing closer to
the day of if that’s helpful.

Thank you!
Jane

 
   

photos to you later today% SAAR

Non damaging decorations would be ‘totally f fine. The mural is on one side.
| can drop it off and pick it up- what time works for you?

Thanks!

Sweet Cicely Daniher
Cyclops Tattoo
513 Valencia St.#2

3/6
ORR ROIOK XX

 

 

 

Case 5:20-cv-00612-NC Yahdo Guim Bn dur Amazing Gatich/ai7/2AalP age 5 of 15

San Francisco, CA. 94110

 

 

 

www.cyclopsialiog.com

 

   

On Wednesday, September 5, 2018 9:58 AM, Jane Clausen saan

 

pixarcom> wrote:

Thank you!! We'd love to see the back, front and interior. Is it painted on both sides? Are we able to do
any (non-permanent, non-damaging) decoration to the inside and outside? Think hanging a fake spare
tire on the back, some rope and tape on the fenders and bobble heads on the dash.

| imagine you don't have a contract you'd want us to sign, but | can have our legal team draw up a
standard agreement that we'd be responsible for damage once you drop it off/before pick up.

Would you be willing to drop-off on Wednesday, Sept 12 and pick up on Saturda Sept 15? Address is
1200 Park Ave, emeryvile. WouldcRgaeek oe COO ae

 
 

| am too excited about this!
Jane

On Wed, Sep 5, 2018 at 9:14 AM sweet cicely daniher ¢% YOON aoe
Jane- Great! The dates sound doable, and the event sounds low impact- haha. | can deliver, no
problem. Let me know the angles you'd like, and I'll send some photos your way!

Thanks!
Sweet Cicely

 

Sent from my iPhone

On Sep 4, 2018, at 11:12 PM, Jane Clausen 3% ©pixar.com> wrote:

 

Oh, Sweet Cicely, thank you for getting back to me! The event is a one day music
festival/activity day for Pixar employees and families. Your van would just be a show

4/6
6/13/2019

  

 

 

 

 

Case 5:20-cv-00612-NC Yahdo Guim Bn dur Amdzie Gaticbh/ai7/2AallP age 6 of 15

piece and not used in any way other than a visual prop. Totally understand about being
careful, we will definitely take great care!

The dates are pretty specific: Our event is Friday, Sept 14. Does that work? We’d
potentially be looking at getting it the day before and then returning the day after. Would
you be willing to deliver?

Are you able to send me some additional photos of the van? We've only seen the side,
which just blew us away!

Let me look into that pricing and contract with our legal department. We are used to more
Measbut | see this is definitely more specialized.

Thank you so!
Jane

    

 

On Tue, Sep 4, 2018 at 5:37 PM sweet cicely daniher 3apyy

   
 

wrote:
Hey! That’s awesome! | HAVE been asked before for rental- but it never came to
fruition. < sai
| would as Ras well as a contract stating any damage, if it were to happen

would be compensated for. It is an older vehicle and needs to be handled with kid
gloves! Let me know what you think, and some more specifics about your event.
Thanks so much!

Sweet Cicely

Sent from my iPhone

 

> On Sep 4, 2018, at 4:13 PM, Jane Clausen
>

> Sweet Cicely,

>

> We just stumbled upon a badass photo of you and your amazing van in San
Francisco Mag and shrieked with joy... I'm working on an event over here at Pixar
Animation Studio next week, and was wondering if you'd be willing to rent us your
Vanicorn for a couple of days. | have no idea if you get inquiries like this ever, but it is
incredibly perfect for the theme of the event we're working with—kind of a fantasy/rocker

 

Bw pixar.com> wrote:

5/6
Case 5:20-cv-00612-NC Yahoo tai MB aur Amaze bob aAi7/e2Aal'Page 7 of 15

 

sort of thing.

>

> Would you let me know if you're open to this? Of course, it would be in good hands—
we would make it worth your while, take exquisite care of it and provide alternate
transportation for you.

>

> Thank you so very much,

> Jane

>

> Production Office Manager

Company

 
 

 

 

6/6
 

Case 5:20-cv-00612-NC Yahto Cai Bn VdurAmdzile daticb/ai7/eMaltP age 8 of 15

Fw: Your Amazing Vanicorn!! - rental!?

 

Sweet Cicely Daniher
Cyclops Tattoo

913 Valencia St. # 2

San Francisco, CA. 94110

 

 

 

www.cyclopstattoo.com

 

wrene Forwarded Message -----

From: Jane Clausen SORE C Oar com>
To: sweet cicely danihen ReRSRRI sep Molly Wittenstein 2S RRR pixar.com>
Sent: Wednesday, September 12. 3018. 6:01: ay BM PDT

Subject: Re: Your Amazing Vanicorn!! - rental!?

 

Awesome. You should have gotten lots of things via DocuSign, so let us know if you have any questions.

Yes, noon tomorrow is great and 4pm on Saturday is aiso great.

 
  
 

Oe

For tomorrow: let me know when you're on your way and have an eta. Text is great pee The gate we'll have you come in is off of Hollis Street, between
45th and Park Ave. (GPS to 4225 Hollis St, Emeryville, CA 94608 which is right across the e street) i will come meet you there. Call if you have any questions at all.

eS

Thank you!
Jane

On Wed, Sep 12, 2018 at 10:11 AM sweet cicely daniher & ye
Jane- That all looks great to me! We mentioned noon Thur for drop off is it possible to do 4ish sat for pickup?
Thanks!

 

1/2
arene. Case 5:20-cv-00612-NC Yao tain anita Amdie hAbaZ/2earPage 9 of 15

Cicely

Sent from my iPhone

  
 

     

we

> On Sep 11, 2018, at 6:16 PM, Jane Clausencsg
>

> Sweet Cicely,

>

> Here's the rental agreement that our legal department has for you to review — if you're good with this then | will give them your email address so you can sign
it online with a little website we use called DocuSign. Let me know if you have any questions at alll
>

> We're so excited.

>

> Thank you,

> Jane

>

> <Pixar - VEHICLE LEASE AGREEMENT. pdf>

yecokarcom> wrote:

2/2
ROE Case 5:20-cv-00612-NC Docansenailt re: Prakeen@itkeizg0 Page 10 of 15

Fw: Pixar Vendor Set Up

 

Sweet Cicely Daniher
Cyclops Tattoo

913 Valencia St. # 2

San Francisco, CA. 94110

 

 

 

www.cyclopstattoo.com

 

wrene Forwarded Message -----

From: Kacy Naylor via DocuSign <dse@
To: sweet c danihenseaegagy &
Sent: Wednesday, Sepiember 12, 2018, 3. 59: 10 BM PDT
Subject: Pixar Vendor Set Up

docusign.net>

  
 

Please complete and sign your document

 

Kacy Naylor (Ra
Pixar Powerform Acct.

From: ’@pixar.com)

Hello sweet c daniher,

In an effort to make the Vendor set up a quick and simple process, the required forms are provided to you electronically.

1/2
6/13/2019 Case 5:20-cv-00612-NC Doctrsemailt ra: Pkaeen@tkeieg0 Page 11 of 15

1. Click the "View Documents" link below to begin the process. This system will help you navigate the documents prompting you
to complete all the required fields.

2. Follow the yellow buttons and prompts on the left side of the screen. For example, the yellow “Next” button will move the
cursor to the next required field. There is logic built into the documents so entering data or responding to questions may
determine what fields are required at later points in the document. When all the required fields are complete, you will be asked to
‘electronically’ sign the documents.

3. Once done click the ‘Finish’ button and the documents will be sent to the appropriate resources to complete the set up.

If you have any questions please contact Kacy Naylor at RRRK@ pixar.com.

View Documenis

Alternately, you can access these documents by visiting docusign.com, clicking the "Access Documents" link, and
using this security code:

 

DocuSign. The fastest way to get a signature.®

This message was sent to you by Kacy Naylor who is using the DocuSign Electronic Signature Service. If you would rather not
receive email from this sender you may contact the sender with your request.

2/2
ORB Case 5:20-cv-00612-NC RenounaiprriwlPGar Vail Ren @d Payd@ eu! Page 12 of 15

Fw: Pixar Van Rental: Paying You!

 

Sweet Cicely Daniher
Cyclops Tattoo

913 Valencia St. # 2

San Francisco, CA. 94110

 

 

 

www.cyclopstattoo.com

 

wrene Forwarded Message -----

From: sweet cicely daniher Mewar SSA

To: Jane Clausen SSRERGRRRR par com>

Sent: Friday, September 21, 2018, 12:33:54 PM PDT
Subject: Re: Pixar Van Rental: Paying You!

 

Jane! Here’s a revised version of the invoice.
Thanks so much!

Sent from my iPhone

On Sep 20, 2018, at 4:25 PM, Jane Clausen %& Aicooixarcom> wrote:

 

Thank you!
Although, invoice says hours, not days ;-) Are you able to switch and | can submit it?

And thanks for info about the mattress. I'll see what they decide.

1/4
Case 5:20-cv-00612-NC PMewmaiertiwiPBar VaiiRenad Faye tou! Page 13 of 15

Thanks!!
Jane

 

On Thu, Sep 20, 2018 at 10:30 AM sweet cicely daniher yg
Jane!
Hello! I've attached an invoice, let me know if I've missed anything.

As far as the Monday filming, the mattress is removable, the frame is built in. Removing the mattress would allow a
bit more headroom, so it might work. | would happily arrive without the mattress if you'd like.
Thanks so much!
Cicely

Sweet Cicely Daniher
Cyclops Tattoo

513 Valencia St. # 2

San Francisco, CA. 94110

 

 

 

www,cyclopsiatioo.com

 

On Wednesday, September 19, 2018 2:48 PM, Jane Clausen 330K EC oixar. com> wrote:

 

Hi Sweet Cicely!

Hope your week is going well. | checked in with Emily and she said you've gotten all of your paperwork in, so thanks!
We're processing that.

 

As for my ask about Monday afternoon: Our team debating a bit if the bed in the back of the van would be too much in
the way of a filming set up (It can't be removed easily, right?). If they are still wanting to do the drive around/film, are
you still available to do that and have us "cash in" the credit for the day we didn't use? ai

AFAR since we agreed on that. ]

 

2/4
Case 5:20-cv-00612-NC RaneumaerrwiPGar Vai Renal Pade tu! Page 14 of 15

Thank you so much!
Jane

On Wed, Sep 12, 2018 at 4:16 PM Emily Engie 3
Hi!

Opixar.com> wrote:

 

I've just send along the Pixar new vendor forms (via Docusign link) so please let us know if you have any questions
filling it out.

Best,
Emily

      

Sls 2

455

On Mon, Sep 10, 2018 at 10:09 AM, Jane Clausenx
Sweet Cicely,

Oixar.com> wrote:
Hope your weekend has been fabulous! I'm including Emily Engie on this email as she's the person here who is
going to get you paid for your wonderful service of letting us rent your van this week.

While our legal team is getting the contract put together she's going to work on her end to get you set up in our
system.

 

me:
Sweet Cicely Daniher

   

Let me know if | can provide any other info to either to get this going!

Thanks so much,
Jane

3/4
BRIAR”

  

1200 Park Ave.

Case 5:20-cv-00612-NC PMewmaiertiwiPBar ValiRenad Faye tbu! Page 15 of 15

 
         
 

 

oe

  

Emeryville, CA 94608

attachment 1.pdf

4/4
